               Case 2:09-cr-00533-DAD Document 19 Filed 01/22/10 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     BRITTNEY MONIQUE BEACHAM
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR.S-09-533 FCD
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              STATUS HEARING AND TO EXCLUDE TIME
                                           )              PURSUANT TO THE SPEEDY TRIAL ACT
14                                         )
     BRITTNEY MONIQUE BEACHAM,             )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on January 25, 2010. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for January 25, 2010, be continued until March 1, 2010, at 10:00 a.m.. In addition,
22   the parties stipulate that the time period from January 25, 2010, to March 1, 2010, be excluded under the
23   Speedy Trial Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide defense
24   counsel with the reasonable time to prepare.
25   ///
26   ///
27   ///
28
               Case 2:09-cr-00533-DAD Document 19 Filed 01/22/10 Page 2 of 2


 1   DATED:January 22, 2010
 2                        Respectfully submitted,
 3   BENJAMIN B. WAGNER                              DANIEL BRODERICK
     United States Attorney                          Federal Defender
 4
 5   /s/ Lexi Negin for                              /s/ Lexi Negin
 6   KYLE REARDON                                    LEXI NEGIN
     Assistant U.S. Attorney                         Assistant Federal Defender
 7   Attorney for United States                      Attorney for Brittney Monique Beacham
 8
            IT IS SO ORDERED.
 9
     DATED: January 22, 2010
10
                                                    _______________________________________
11                                                  FRANK C. DAMRELL, JR.
                                                    UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
